       Case 1:22-cr-00024-AW-GRJ Document 35-2 Filed 01/30/23 Page 1 of 1




 DAVID G. LAZARUS
 PARTNER
                                                EXHIBIT                               Verrill Dana LLP
                                                                          One Federal Street, 20th Floor
 dlazarus@verrill-law.com                                                          Boston, MA 02110
 (617) 292-2859                                         2                         Main 617-309-2600




VIA EMAIL

                                                              October 14, 2022
Justin M. Keen
Assistant United States Attorney
United States Attorney’s Office
Northern District of Florida
111 North Adams Street, 4th Floor
Tallahassee, FL 32301

         Re: US v. Patrick Walsh, Plea Agreement Rider

Dear Justin,

        Pursuant to the Plea Agreement Rider (the “Rider”) please be advised that Mr. Walsh has
elected to proceed with Path B to Repayment. Pursuant to Paragraph 17 of the Rider, Mr. Walsh
notifies the United States that he intends to list for sale the Sale Properties (see Rider at Exhibit
1). Enclosed, please find copies of documents relating to the listing and sale of the Sale
Properties, including the listing agreements described in the Rider, including in Paragraph 18:

                •    Sweetheart Island Documents
                •    Commercial Property – US HWY 19, Dixie County, FL
                •    12 NW 5th PL Documents
                •    8657 NE 150th Ave Documents
                •    0412300500 Documents
                •    041230050A Documents
                •    541 SE 1 Ave Documents

       As you know, on September 12, 2022 we sent you documents relating to the Cisco, Texas
property described as one of the Sale Properties. Please let us know if you have questions.
Thank you.
                                                             Best,

                                                              s/ David G. Lazarus_________
                                                              David G. Lazarus
                                                              Attorney for Patrick Walsh

cc. via email: Nicole Waid, Esq., Client



21000812_1
